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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA,              )
                                        )
          Plaintiff,                    )
                                        )
          v.                            )                Case 1:16-cv-0810 (GLR)
                                        )
 J.A. SUBWAY, INC., and JAMIU LAWAL,    )
                                        )
                                        )
          Defendants.                   )
 ______________________________________ )

                   UNITED STATES’ RESPONSE TO DEFENDANT
                 JAMIU LAWAL’S NOTICE OF FILING BANKRUPTCY

       Plaintiff UNITED STATES OF AMERICA hereby responds to the Notice of Bankruptcy

(“Notice”) filed by Defendant Jamiu Lawal on June 21, 2019 as follows:

       The United States proposes to continue the hearing set on the Government’s Second

Motion for an Order to Show Cause why Mr. Lawal should not be held in contempt for violating

the permanent injunction for a period of thirty (30) days from July 18, 2018, or such other time

as may be convenient for the Court, to allow time for the disposition of the United States

Trustee’s Motion to dismiss or convert the pending Chapter 11 proceeding in In re Jamiu Lawal,

No. 18-15723 (Bankr. Md.), and if necessary, for the Government to (1) obtain a determination

from the Bankruptcy Court as to whether the automatic stay in bankruptcy provided by 11 U.S.C.

§ 362(a) applies to this case; and (2) if the stay does apply, move the Bankruptcy Court to lift the

stay to continue with the contempt proceeding in this action.

       Mr. Lawal contends that the Government’s second motion for an order to show cause is

“null and void” and that the hearing scheduled on the Government’s motion is subject to the

automatic stay because he filed a Chapter 11 bankruptcy petition on April 29, 2018. See In re
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Jamiu Lawal, No. 18-15723 (Bankr. Md.). On June 13, 2018, the United States Trustee moved

to dismiss or convert this proceeding to one under Chapter 7 due to Mr. Lawal’s failure to attend

the first meeting of the creditors, failure to maintain adequate insurance, failure to file periodic

financial reports, failure to timely provide information reasonably requested by the United States

Trustee, and for filing the Chapter 11 petition in bad faith. See id. at Dkt. No. 22. A hearing on

the Trustee’s motion is scheduled to take place on July 17, 2018 at 1:30 p.m., one day before this

Court’s scheduled hearing on the Order to Show Cause. See Dkt. No. 32; Dkt. No. 25 in Case

No. 18-15723.

       In light of the foregoing, the United States respectfully suggests that the Court continue

the hearing in this action for a period of thirty (30) days from July 18, 2018, or such other time as

may be convenient for the Court, to allow time for the disposition of the United States Trustee’s

motion to dismiss or convert, and to permit the Government to seek the above-described relief.

The United States shall notify the Court in writing within 14 days as to the disposition of the

Trustee’s motion and of the Government’s intent, if necessary, to move the Bankruptcy court for

a determination as to whether the automatic stay applies in the instant case.



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DATED: July 2, 2018                       RICHARD E. ZUCKERMAN
                                          Principal Deputy Assistant Attorney General

                                          ROBERT K. HUR
                                          United States Attorney

                                          /s/Joycelyn S. Peyton
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                                   CERTIFICATE OF SERVICE

           IT IS HEREBY CERTIFIED that service of the United States’ Response to

Defendant Jamiu Lawal’s Notice of Filing Bankruptcy has been made on July 2, 2018 via the

United States Postal Service to:

       JAMIU LAWAL
       632 S. Broadway
       Baltimore, MD 21231
       Pro se


                                                 /s/ Joycelyn S. Peyton
                                                 JOYCELYN S. PEYTON
                                                 Trial Attorney, Tax Division
                                                 U.S. Department of Justice




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